                    UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                    DOCKET NO.: 3:07CR79-FDW-DCK

UNITED STATES OF AMERICA      )
                              )
                              )                               ORDER
vs.                           )
                              )
                              )
RUBEN ORTIZ BARRAZA           )
Defendant                     )
_____________________________ )

        THIS MATTER IS BEFORE THE COURT upon the handwritten Motion for

Change of Venue (Document No. 15) filed pro se by the Defendant on February 12,

2008.

        The record reflects that Mr. Barraza is represented by appointed counsel, Denzil

Horace Forrester. It is the practice of this Court, when a defendant is represented by

counsel, to rule on motions filed only by counsel of record. Therefore, if Mr. Barraza has

any matters he wishes this Court to consider, they must be submitted through his

attorney.

        IT IS, THEREFORE, ORDERED that Mr. Barraza’s request for change of

venue is DENIED without prejudice to his right to re-file the motion, if appropriate,

through his attorney, Ms. Forrester.

                                        Signed: February 13, 2008




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